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                           EXHIBIT A
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                                            REDACTED - PUBLIC VERSION




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                                        MEMORANDUM OPINION 1

           Pending before the Court are Avadel CNS Pharmaceuticals LLC and Avadel

  Pharmaceuticals PLC's ("Avadel") motions for partial summary judgment (D.I. 399) and Jazz

  Pharmaceuticals, Inc. and Jazz Pharmaceuticals Ireland Limited's ("Jazz") motions for partial

  summary judgment (D.I. 393; D.I. 395; D.I. 397; D.I. 400). Also pending before the Court are

  Avadel's motions to exclude the testimony of Dr. Mark Rainey, Dr. Cristian Moreton, and Dr.

  Steven Little (D.I. 285) and Jazz's motions to exclude the expert testimony of Dr. Cory Berkland,

  Dr. Robert Langer, Mr. Alexander Klibanov, Mr. Carlo Giovanni Traverso, and Dr. Bruce Corser

  (D.I. 387; D.I. 389; D.I. 391).

           This is a consolidated action for patent infringement brought by Jazz against Avadel,

  arising from Avadel 's filing of a New Drug Application ("NDA") with the United States Food and

  Drug Administration ("FDA") seeking approval to commercially market a sodium oxybate

  ("oxybate" or "GHB") drug product prior to the expiration of U.S. Patent Nos. 10,758,488,

  10,813,885, 10,959,956, and 10,966,931 (collectively, the "Sustained Release Patents" or "SR



  1   The Court writes for the benefit of the parties and assumes their familiarity with this action.
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  Patents") and U.S. Patent Nos. 11,077,079 (the "'079 patent"); and 11,147,782 (the '"782 patent").

  See D.I. 394 at 1. Jazz alleges that Avadel's product, LUMRYZ, infringes those six (6) patents.

  Avadel asserts that the SR Patents are invalid and that LUMRYZ does not infringe. Id. The parties

  informed the Court, in the proposed pre-trial order, that Jazz has narrowed its asserted patents to

  the '488 and '782 patents (the "Asserted Patents") and has narrowed its asserted claims to claims

  7 and 11 ofthe '488 patent and claim 24 ofthe '782 patent (collectively, the "Asserted Claims").2

  D.I. 421.

  I.      LEGAL STANDARDS

          i.      Summary Judgment

          "The court shall grant summary judgment if the movant shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter oflaw." Fed. R.

  Civ. P. 56(a). "A genuine issue ofmaterial fact is one that could lead a reasonable jury to find in

  favor ofthe nonmoving party." Bletzv. Corrie, 974 F.3d 306,308 (3d Cir. 2020) (citation omitted).

  "The court must review the record as a whole, draw all reasonable inferences in favor of the

  nonmoving party, and must not 'weigh the evidence or make credibility determinations."' Id

  (citation omitted). The Court must enter summary judgment if the non-moving party "fails to

  make a showing sufficient to establish the existence ofan element essential to [its] case, and on

  which [the non-moving] party will bear the burden ofproofat trial." Celotex Corp. v. Catrett, 4 77

  U.S. 317, 322 (1986); see also SodexoMAGIC, LLC v. Drexel Univ., 24 F.4th 183,204 (3d Cir.

  2022) (quoting Celotex, 477 U.S. at 322). The Federal Circuit "reviews a district court's grant of


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   Thus, considering that the parties have narrowed the issues that will be presented at trial to those
  asserted patents and claims, the Court will consider only those patents and claims for the purpose of this
  Opinion and Order. Accordingly, the Court addresses only the '488 patent with respect to Avadel' s
  motion for partial summary judgment no. I and addresses only the '782 patent with respect to Avadel's
  motion for partial summary judgment no. 2 and Jazz's motion for partial summary judgment no. 2.
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  summary judgment under the law of the regional circuit, here the Third Circuit." Acceleration Bay

  LLC v. 2K Sports, Inc., 15 F.4th 1069, 1075 (Fed. Cir. 2021) (citation omitted).

         ii.     Expert Witness Testimony

  Federal Rule of Evidence 702 sets out the requirements for expert witness testimony and states:
         A witness who is qualified as an expert by knowledge, skill, experience, training,
         or education may testify in the form of an opinion or otherwise if: (a) the expert's
         scientific, technical, or other specialized knowledge will help the trier of fact to
         understand the evidence or to determine a fact in issue; (b) the testimony is based
         on sufficient facts or data; ( c) the testimony is the product of reliable principles and
         methods; and (d) the expert has reliably applied the principles and methods to the
         facts of the case.
  Fed. R. Evid. 702. The Third Circuit has explained:
         [T]he district court acts as a gatekeeper, preventing opinion testimony that does not
         meet the requirements of qualification, reliability and fit from reaching the jury.
         See Daubert ("Faced with a proffer of expert scientific testimony, then, the trial
         judge must determine at the outset, pursuant to Rule 104(a) [of the Federal Rules
         of Evidence] whether the expert is proposing to testify to (1) scientific knowledge
         that (2) will assist the trier of fact to understand or determine a fact in issue.").
  Schneider ex rel. Estate of Schneider v. Fried, 320 F.3d 396, 404 05 (3d Cir. 2003)

  (footnote and internal citations omitted). Qualification examines the expert's specialized

  knowledge, reliability examines the grounds for the expert's opinion, and fit examines

  whether the testimony is relevant and will "assist the trier of fact." Id. at 404.

  II.    DISCUSSION

         i.      The Court Denies Jazz's Motion for Partial Summary Judgment No. 1.

         Jazz asks the Court to enter partial sunnnary judgment in its favor and find that the core of

  LUMRYZ's controlled release coated pellets (the "CR pellets") comprise sodium oxybate. See

  D.I. 394. For the reasons stated below, the Court denies Jazz's motion.

         The parties dispute the make-up of LUMRYZ's "core" and whether that core includes

  sodium gamma-hydroxybutyrate ("GHB"). LUMRYZ contains two types of pellets: immediate


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  core of the CR pellets as core is defined by the SR patents). D.I. 462 at 5-6. Jazz contends that

  the plain and ordinary meaning of "core" applies to both patents as neither party has sought claim

  construction for that term in the SR patents. Id. Thus, as Avadel has not argued that the '062

  patent lexicographically defined "core," Jazz contends that the Court should give "core" its plain

  and ordinary meaning in the '062 patent as well. Id.

         However, the Court does not find Jazz's argument persuasive because constructions need

  not be consistent across patents. See Trustees of Columbia Univ. in City ofNew York v. Symantec

  Corp., 811 F.3d 1359, 1369 (Fed. Cir. 2016). Further, the '062 patent uses. "core" to refer to both

  the IR microparticles and the MCC spheres. See '062 patent, Example 1. Thus, even were the

  Court to assume that "core"-as defined by the SR patents-refers to the IR microparticles, the

  Court would decline to ascribe the same meaning to "core" in the '062 patent because the '062

  patent uses the term to refer to both the IR microparticles and the MCC spheres. Id. The Court

  sees no basis on which it could find at this time that only one use of "core" in the '062 patent

  comports with the term's plain and ordinary meaning as that term is used in the '062 patent.

         Accordingly, the Court finds that there is a genuine dispute of material fact regarding

  whether the core of the CR pellets are IR pellets (which contain GHB) or MCC spheres (which do

  not contain GHB). Thus, the Court denies Jazz's motion for partial summary judgment that

  LUMRYZ's core comprises GHB.

         ii.     The Court Denies Jazz's Motion for Partial Summary Judgment No. 2.

         Jazz asks the Court to enter partial summary judgment in its favor and find that Avadel has

  presented no evidence of obviousness under the correct legal standard regarding the '782 patent.

  See D.I. 285 at 1-5. Alternatively, Jazz asks the Court to judicially estop Avadel from arguing that




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  the asserted claim of the '782 patent is invalid as obvious. See id. at 5-8. For the reasons stated

  below, the Court denies Jazz's motion.

          Jazz's motion is effectively a motion to exclude Dr. Klibanov's expert opinions regarding

  obviousness. See id.      Thus, because Jazz contends that Avadel has no other evidence of

  obviousness, Jazz asks the Court to grant its motion for partial summary judgment against Avadel' s

  obviousness defense as well. Id. Avadel's counsel asked Dr. Klibanov to assume, for the purpose

  of his obviousness analysis, that the asserted claim of the '782 patent possessed adequate written

  description support and was enabled. Id. at 2. Jazz contends that Dr. Klibanov's assumption

  renders his opinions inadmissible because that assumption requires a person of ordinary skill in

  the art to review and consider the '782 patent. Id. at 3-5; see Procter & Gamble Co. v. Paragon

  Trade Brands, Inc., 989 F. Supp. 547, 592 (D. Del. 1997) ("[O]bviousness carmot be founded on

  knowledge or teaching provided by the patentee's invention itself."). Conversely, A vadel contends

  that Dr. Klibanov properly (1) considered Jazz's admissions about the level of detail that a person

  of ordinary skill in the art would require to believe that the inventors of the '782 patent were in

  possession of the claimed invention and (2) applied that same level of detail in his consideration

  of the disclosures in the prior art. D.I. 309 at 14.

          The Court finds that Dr. Klibanov's testimony is sufficiently reliable. One of the factors

  that the Court considers when determining if a patent is invalid for obviousness is the level of

  ordinary skill in the art at the time of the invention. Procter & Gamble Co. v. Paragon Trade

  Brands, Inc., 989 F. Supp. 547,588 (D. Del. 1997). While the relevant period of time is "the time

  of the invention," the Court is unaware of any authority that prevents the fact-finder from relying

  on evidence that post-dates the invention in its determination of the level of ordinary skill in the

  art at the time of the invention. See, e.g., OrthoPediatrics Corp. v. Wishbone Med., Inc., 2022 WL


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   4978169, at *3 (N.D. Ind. Oct. 4, 2022) (noting that "[b]oth parties relied on expert opinions in

   arguing for their POSIT A definition" and that "the Court can rely on those expert opinions").

   Moreover, to determine the level of ordinary skill in the art, courts consider evidence that is

   contemporaneous with the patent whose validity is being challenged. See, e.g., Daiichi Sankyo

   Co., Ltd. v. Apotex, Inc., 501 F.3d 1254, 1256-1257 (Fed. Cir. 2007) ( considering the "art involved

   in the [] patent" and the "problem the invention of the [] patent" was trying to solve in its

   determination of the level of ordinary skill in the art at the time of the invention). Further, the

   language the inventors of the '782 patent chose to use (and the level of detail the inventors thought

   necessary) to describe the asserted claim, is relevant to, at least, the "sophistication of the

   technology" and the "educational level of active workers in the field." See id. Thus, the Court is

   not convinced that Dr. Klibanov's review of the '782 patent and his assumption that the

   specification described, and informed a person of ordinary skill in the art how to 'make and use,'

   the invention renders his opinions umeliable. Accordingly, the Court finds that Dr. Klibanov's

   opinions regarding obviousness are sufficiently reliable.

          Jazz also seeks to exclude Dr. Klibanov's opinions on obviousness under the doctrine of

   judicial estoppel. D.I. 285 at 5-8. Dr. Klibanov opined that February 18, 2016 is the effective

   filing date of the '782 patent. D.I. 352 at 3. Avadel's patents have a later-effective filing date of

   July 22, 2016. Id. Avadel alleges that Jazz "cop[ied] Avadel's patent claims into its own patents."

   Id. As a result, Jazz contends that-if Dr. Klibanov's obviousness opinions render Jazz's patent

   obvious those opinions must necessarily render Avadel's patents obvious as well.                  Id.

   Accordingly, because Avadel successfully argued to the PTO that its patents are not obvious, Jazz

   contends that Avadel is estopped from asserting a contradictory theory in this case. Id.; see New

   Hampshire v. Maine, 532 U.S. 742, 749 (2001) ("[W]here a party assumes a certain position in a


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   legal proceeding, and succeeds in maintaining that position, he may not thereafter, simply because

   his interests have changed, assume a contrary position."). Specifically, Jazz points to statements

   Avadel made to the PTO contending that the prior art does not disclose a formulation with a

   "viscosifying agent" and an "acid" where those components are "separate and distinct" from

   immediate and delayed-release compounds elements i.e., the limitations of the asserted claim of

   the '782 patent. D.I. 285 at 7; see '782 patent claim 14.

          In response, Avadel contends that the language Jazz quotes from New Hampshire was dicta

   and did not establish an "exhaustive formula for determining the applicability ofjudicial _estoppel."

   D.I. 309 at 17 (quoting New Hampshire, 532 U.S. 742 at 749). Thus, Avadel argues that the proper

   test is the test established by the Third Circuit in Dam Things from Denmark v. Russ Berrie & Co.,

   Inc., namely:

          (1) [T]he party to be estopped is asserting a position that is irreconcilably
          inconsistent with one he or she asserted in a prior proceeding; (2) the party changed
          his or her position in bad faith, i.e., in a culpable manner threatening to the court's
          authority or integrity; and (3) the use of judicial estoppel is tailored to address the
          affront to the court's authority or integrity

   290 F.3d 548, 559 (3d Cir. 2002). The Court finds that it need not determine which test controls

   because the doctrine of judicial estoppel does not preclude Avadel from offering its position on

   obviousness under either test. Dr. Klibanov's opinions on obviousness are contingent on Jazz's

   position regarding the level of detail necessary to teach the contents of the '782 patent. See D.I.

   309 at 18. Thus, Avadel's position is based on the level of ordinary skill in the art necessary to

   interpret Jazz's patent not Avadel's. See id. Accordingly, the Court finds that Avadel's position

   is not "contrary" to the position it argued at the PTO because the PTO considered the validity of

   Avadel's patents based on how a person of ordinary skill in the art would interpret Avadel's patent.




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          As a result, given that Dr. Klibanov's opinions on obviousness are sufficiently reliable and

   that Avadel is not estopped from arguing that the asserted claim of the '782 patent is invalid as

   obvious, the Court denies Jazz's motion for partial summary judgment no. 2.

          iii.    The Court Denies Avadel's Motion for Partial Summary Judgment No. 1.

          A vadel asks the Court to enter partial summary judgment in its favor and find that the

   Sustained Release Patents (which include the asserted '488 patent) are invalid. See D.I. 407 at 1-

   2. Avadel contends that the SR Patents lack sufficient written description because the SR

   Specifications, while broad, lac_k "blaze marks" leading t_o the specific claimed formulations. Id.

   Avadel also argues that the SR Patents lack written description support because the SR

   Specifications do not disclose a formulation that meets both the MAMM structural limitations and

   the GHB release profile functional limitations.       Id.   Thus, Avadel contends that the SR

   Specifications do not disclose a representative number of species within the claimed sub-genus.

   Id. For the reasons stated below, the Court denies Avadel's motion.

                  A.     The Court Finds That There is a Genuine Dispute of Material Fact
                         Regarding Whether the SR Specification Possesses Sufficient "Blaze
                         Marks" Leading a Person of Ordinary Skill in the Art to the Claimed
                         Formulations.
          The claims of the SR Patents recite a "sustained release portion" that "comprises a

   functional coating and a core." D.I. 407 at 6-7. The functional coating "comprises one or more

   methacrylic acid-methyl methacrylate co-polymers ("MAMM") that are from about 20% to about

   50% by weight of the functional coating." Id. The SR Specifications disclose that these claimed

   formulations include a drug-containing core and a functional coating. Id. at 5-6. The core can

   also include the active ingredient, along with excipients "such as binders, fillers, diluents,

   disintegrants, colorants, buffering agents, coatings, surfactants, wetting agents, lubricants,

   glidants, or other suitable excipients." Id. The functional coating surrounding the drug-containing


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   core can include "one or more" base polymers, pore formers, plasticizers, and/or anti-tack agents.

   Id.

          MAMM, an enteric pore-former, is an excipient that can be included in the functional

   coating. Id. Pore formers "can be selected to modify the permeability of the coating composition

   provided over the CR core" and the "amount and nature" of the pore former "can be adjusted to

   obtain desired release rate characteristics for a given drug substance". See, e.g., '956 patent at

   13 :23-26, 13 :44-50. The SR Specifications further explain that "incorporating enteric components

   in the film may result in delivery characteristics that exhibit some level of sensitivity to gastric and

   intestinal transit times." Id. at 13:41-43.

           Further, the "integrated dosage form" can be formulated such that the "controlled release

   formulation" either (A) "begins release of drug substantially simultaneously with delivery of the

   drug from the [immediate release] component" or (B) "exhibits a start-up time lag." Id. at 18:50-

   56. A start-up lag can be imparted to the controlled release formulation through inclusion of either

   an enteric coating or an enteric pore-former. Id. at 18-59:67. However, enteric coatings limit the

   start-up lag to "gastric residence and its associated variability" and enteric pore-formers result in

   embodiments that are "more sensitive to food effects and gastric motility." Id.

          Avadel argues that the SR Specifications lack "blaze marks" that guide attention to the

   claimed MAMM copolymers. D.I. 407 at 4. Stated another way, Avadel contends that a person

   of ordinary skill in the art would not have a reason to select the claimed MAMM copolymers from

   the "multitude of other potential excipients in the claimed formulation." Id. at 8. In support,

   A vadel notes that pore formers are merely an optional class of excipients described in the SR

   Specifications. Id. at 8-9. Moreover, the SR Specifications recite four (4) categories of pore

   formers, list multiple examples of specific pore formers within each category, and do not express


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   a preference for a specific category of pore former. Id. Indeed, Avadel contends that the SR

   Specifications in fact counsel against selection of an enteric pore-former because the SR

   Specifications explain that "enteric components in the firm may result in delivery characteristics

   that exhibit some level of sensitivity to gastric and intestinal transit times." Id.

          Jazz responds that the SR Specifications direct a person of ordinary skill in the art to use

   polymers to control the release profile of a drug. D.I. 416 at 2. Jazz contends that the claimed

   invention is a "sustained release" formulation where a "functional coating" over a core works to

   deliver a sustained release of the drug within _that core. Id. Jazz further argues that the SR

   Specifications focus on the polymers to describe the inventive functional coating used to control

   the release of GHB.        Therein, the SR Specifications state that the "functional coating

   compositions" "may include one or more base polymer and at least one pore-former" and include

   examples of "sustained release formulations" that use polymeric functional coatings, including

   those with pore formers. Id. Accordingly, Jazz argues that the SR Specifications disclose the

   inventive feature of the claims-namely, "the use of a polymeric functional coating, and in

   particular pore formers within that coating." Id. at 4.

           In addition, Jazz argues that MAMM copolymers are part of a limited universe that the SR

   Specifications teach to use to achieve a pH-sensitive start-up lag time. Id. at 4-5. The SR

   Specifications state that a controlled release formulation can be formulated to have a start-up lag

   time and that the start-up lag time will be more-or-less pH sensitive based on what excipients are

   used to achieve that start-up lag time. See, e.g., '956 patent at 19:3-7. Three (3) enteric materials

   impart a start-up lag time that is more sensitive to pH: cellulose acetate phthalate, polyvinyl acetate

   phthalate, and MAMM co-polymers. D.I. 416 at 5. Thus, Jazz contends that the SR Specifications




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   direct a person of ordinary skill in the art who "desires" a formulation with a pH-sensitive start-up

   lag time to use one of those three (3) options (including the claimed MAMM copolymers). Id.

           The Court finds that there is a genuine dispute of material fact regarding whether the SR

   Specifications provide adequate written description support for the claimed polymers. Viewing

   the facts in the light most favorable to Jazz, the SR Specifications direct a person of ordinary sldll

   in the art to select an enteric pore-former (of which MAMM is one) when that person desires a pH

   sensitive time lag. See id. at 4-5. However, the specification does not explain why a person of

   ordinary skill in the art would want a start-up time lag. See, e.g., generally, '956 patent. Indee_d,

   Jazz's expert, Dr. Moreton, conceded that the specification does not direct a person of ordinary

   skill in the art to a formulation with any lag time. D.I. 473 at 4-5. Accordingly, Avadel contends

   that there are no "blaze marks" directing a person of ordinary skill in the art to formulations with

   a pH sensitive start-up lag time in the first instance.

           But, Dr. Moreton stated that the "clinical development side of things" could provide a

   reason for why a person of ordinary skill in the art would desire a lag time. Id. Thus, there is at

   least some evidence that the desirability of a pH-sensitive start-up time lag was well-known in the

   art as of the filing date of the SR Applications. Accordingly, the Court finds that Dr. Moreton's

   statement sufficiently establishes a genuine dispute of material fact regarding whether the

   specification provides a person of ordinary skill in the art with sufficient blaze marks to pursue

   formulations with a pH sensitive start-up lag time. "Because the specification is viewed from the

   perspective of one of skill, in some circumstances, a patentee may rely on information that is "well­

   known in the art" for purposes of meeting the written description requirement." Boston Sci. Corp.

   v. Johnson & Johnson, 647 F.3d 1353,1366 (Fed. Cir. 2011). Accordingly, the Federal Circuit, in

   Falkner v. Inglis, held that a disclosure in an application of vaccinia, a type ofpoxvirus, provided


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   sufficient written description for a claim requiring that a mutation in the vaccinia was to an

   "essential gene." 448 F.3d 1357, 1367-66 (Fed. Cir. 2006). In Rivera v. Int'/ Trade Comm 'n, the

   Federal Circuit explained that while "the patent [at issue in Falkner] did not teach the gene

   sequence of the essential gene," the specification provided adequate written description support

   "because the sequence of the essential gene was well-known in the art." 857 F.3d 1315, 1322

   (Fed. Cir. 2017).

            Similarly, the SR Specifications may provide adequate written description support for the

   claimed MAMM polymers if a person of ordinary skill in the art_ would know why a start _up lag

   time is desirable. See id. Dr. Moreton testified that the "clinical development side of things"

   informs a person of ordinary skill in the art as to the desirability of a start-up lag time. D.I. 473 at

   4-5. Accordingly, the Court finds that there is a genuine dispute of material fact regarding whether

   the specification provides a person of ordinary skill in the art with a blaze mark to pursue

   formulations with a pH-sensitive start-up lag time.

           Avadel's expert, Dr. Charman's, opinion that the SR Specification "teach[es] away from

   the use of enteric polymers" because it "highlight[s] the downside of using enteric polymers" does

   not compel a different result. D.I. 416 at 8-9. Dr. Moreton opined that a person of ordinary skill

   in the art would not see the SR Specifications as having any "warning or 'caution' against using

   [MAMM] copolymers" and testified that "if you want a lag time, [MAMM] is the way to go." Id.

   Accordingly, Avadel's motion merely presents a battle of the experts that is not amenable to

   resolution on a motion for summary judgment. See Transcenic, Inc. v. Google, Inc., No. 11-582,

   2014 WL 7275835, at *2 (D. Del. Dec. 22, 2014).

          Thus, viewing the facts in the light most favorable to Jazz, the Court credits Dr. Moreton's

   testimony and finds that a person of ordinary skill in the art would know why a formulation with



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   a pH-sensitive start-up time lag is desirable. As a result, the Court must then consider whether

   there is a genuine issue of material fact regarding whether the SR Specifications provide blaze

   marks directing a person of ordinary skill in the art to select the claimed MAMM co-polymers.

   The Court finds that there is.

          The SR Specifications direct a person of ordinary skill in the art who desires a formulation

   with a start-up lag time that is more sensitive to pH to select an "enteric component" or an "enteric

   pore former." See, e.g., '956 patent at 18:59-19:3. The SR Specifications disclose only four (4)

   such enterics cellulose acetate phthalate, polyvinyl acetate_ phthalate, and the claimed MAMM

   co-polymers. Id. at 13 :35-41. Thus, the Court finds that a reasonable factfinder could find that

   the SR Specifications provide sufficient blaze marks directing a person of ordinary skill in the art

   to select the claimed MAMM. See Immunex Corp. v. Sandoz Inc., 964 F.3d 1049, 1069 (Fed. Cir.

   2020) (affirming a district court's finding that a priority application for the patents-in-suit disclosed

   possession of the claimed invention where the specification identified four preferred fusion

   proteins, including the claimed fusion protein, and provided the steps required to make those fusion

   proteins).

                   B.      The Court Finds that There is a Genuine Dispute of Material Fact
                           Regarding Whether the Specification Discloses Structural Features
                           Sufficient to "Visualize or Recognize" the Claimed Formulations.

           Avadel contends that the functional limitations of the claims of the SR Patents lack written

   description support because the claims recite formulations with specific GHB release profiles

   under particular in vitro testing conditions but the SR Specifications do not disclose any examples

   of formulations that meet the MAMM copolymer limitation and exhibit the claimed release

   profiles. D.I. 473 at 8-10.




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           Jazz responds that the SR Specifications include sufficient data to inform a person of

   ordinary skill in the art that the claimed release profiles could be achieved by using water-soluble

   pore-formers, including the claimed MAMM copolymers. D.I. 416 at 11-14. The pore former

   used in Examples 1-3 of the SR Specifications is hydroxypropyl cellulose. Id. at 5. Hydroxypropyl

   cellulose and MAMM co-polymers are both water-soluble pore formers. Id. Jazz's expert, Dr.

   Moreton, opined that a person of ordinary skill in the art would expect a MAMM co-polymer to

   behave similarly to the hydroxypropyl cellulose coating described in Example 2 of the SR

   Specifications, with the only exception being that the MAMM formulation would_include a start­

   up lag. Id. at 5-6.


           The Court finds that there is a genuine dispute of material fact regarding whether the SR

   Specifications disclose sufficient structural features common to the claimed formulations such that

   a person of ordinary skill in the art could 'visualize or recognize' the members of the genus. Jazz

   has introduced evidence from which a reasonable juror could find that the Examples in the SR

   Specifications provide support for the dissolution release profiles. See D.I. 416. Further, Jazz has

   also introduced evidence from which a reasonable juror could find that non-enteric water-soluble

   polymers function in the same manner as enteric polymers for purposes of the claimed release

   profiles. Id. Thus, Dr. Moreton's opinion that a person of ordinary skill in the art could 'visualize

   or recognize' the claimed formulations based on (1) the SR Specifications' description of

   formulations that meet the claimed release profile through use of non-enteric water-soluble pore­

   formers and (2) a person of ordinary skill in the art's knowledge that enteric pore-formers behave

   in a similar fashion to non-enteric pore-formers "at least raises a genuine issue of material fact."

   See id.; ]Ox Genomics, Inc. v. NanoString Techs., Inc., 2023 WL 5805585, at *6 (D. Del. Sept. 7,

   2023) (citing Vasudevan Software, Inc. v. MicroStrategy, Inc., 782 F.3d 671,683 (Fed. Cir. 2015).

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          Accordingly, given that there is a genuine dispute of material fact regarding whether the

   SR Specifications provide sufficient written description for the claims of the SR patents, the Court

   denies Avadel's motion for summary judgment.

          iv.      The Court Denies Avadel's Motion for Partial Summary Judgment No. 2.

          Avadel asks the Court to enter partial summary judgement in its favor, and find that the

   asserted claim of the '782 patent is invalid for lack of enablement. See D.I. 297 at 14. For the

   reasons stated below, the Court denies Avadel's motion.

          The asserted claim of the '782 patent is directed to a formulation that provides modified

   release of oxybate. See '782 patent claim 14.        Claim 14 recites, inter alia, a formulation

   comprising "immediate" and "modified" "release particles" that comprise GHB, along with a

   separate "viscosity enhancing agent" and an "acid." Id. The Court construed "modified release

   particles" and gave that term its plain and ordinary meaning, namely "particles containing an active

   pharmaceutical ingredient with a release profile that is different from that of an immediate release

   particle." See D.I. 151. The Court further construed "modified release particles" to include both

   resinate and non-resinate compositions. Id.

          Avadel contends that the specification of the '782 patent fails to teach a person of ordinary

   skill in the art how to make and use both resinate and non resinate embodiments of the claimed

   invention. See D.I. 297 at 15. Specifically, Avadel contends that "modified release particles"

   encompasses an extensive array of formulations and that a person of ordinary skill in the art would

   need to perform undue testing to determine whether an oxybate formulation exhibits a "modified

   release." Id.

          The Court agrees with Avadel that claim 14 of the '782 patent is broad and covers a variety

   of formulations. See id. at 17. Specifically, the "modified release particle" limitation has a



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   structural requirement (the "active pharmaceutical ingredient") and a functional requirement (the

   "release profile that is different from that of an immediate release particle"). See '782 patent at

   claim 14. The functional requirement encompasses a broad number of formulations because the

   only requirement imposed by that limitation is that the release profile be "different" from the

   release profile of an immediate release particle. Id.; see D.I. 151 at 12-13; Perring B. V. v. Mylan

   Pharms., Inc., C.A. No. 13-5909, 2014 WL 6676670, at *3 (E.D. Pa. Nov. 25, 2014) (concluding

   that the "plain meaning of the phrase 'modified release material' as used in the asserted claims

   means 'a material that modifies the release of the active pharmaceutical ingredient."').

          Accordingly, the Court agrees with Avadel that the asserted claim of the '782 patent is

   similar to the claims-at-issue in Amgen Inc. v. Sanofi, 143 S. Ct. 1243, 1256 (2023). In Amgen,

   the plaintiff sought "to monopolize an entire class of things defined by their function," namely

   "every antibody that both binds to particular areas of the sweet spot of PCSK9 and blocks PCSK9

   from binding to LDL receptors." Id. Similarly, the asserted claim of the '782 patent seeks "to

   monopolize an entire class of things defined by their function"-namely every material that

   modifies the release of the active pharmaceutical ingredient recited by the structural requirement,

   i.e., GHB. See '782 patent claim 14. Thus, the functional requirement of the asserted claim's

   "modified release particle" limitation covers the full "genus" of materials that modify the release

   of an active pharmaceutical ingredient. See id.

          As a result, this case is distinguishable from Janssen Pharm., Inc. v. Mylan Labs. Ltd and

   Orexo AB v. Sun Pharm. Indus. Ltd. The claims-at-issue in Janssen and Orexo were directed to

   compositions of a specific drug with defined structural features. See Orexo AB v. Sun Pharm.

   Indus. Ltd., 2023 WL 4492095, *24 (D.N.J. June 30, 2023) ("This case involves a patent for a

   single composition of an opioid dependence drug, not an entire "genus" ... Orexo' s invention is a


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   narrow composition covering a sublingual tablet containing separate microparticles of

   buprenorphine and weak acid."); Janssen Pharm., Inc. v. Mylan Labs. Ltd., 2023 WL 3605733,

   *36 (D.N.J. May 23, 2023) (explaining that the claimed prodrugs-at-issue were not "unduly broad,

   because a POSA would understand the '693 Patent to limit [] formulations to the specific

   ingredients, concentrations, and particle sizes (or ranges) in the Patent").

          However, the breadth of the asserted claim of the '782 patent does not mean that the claim

   necessarily fails for lack ofenablement. A patent need not describe with particularity how to make

   and use every sin�le embodiment within a claimed class. Amgen, 143 _S. Ct. 1243 at 1254. Instead,

   examples disclosing "some general quality running through the class that gives it a peculiar fitness

   for the particular purpose" may be sufficient to enable a person skilled in the art to make and use

   all ofwhat is claimed. Id.

          The functional requirement of the asserted claim of the '782 patent recites a "release

   profile" that is "different" from that ofan "immediate release particle." See D.I. 151; '782 patent

   claim 14. Unlike the Sustained Release Patents, which recite, inter alia, formulations with specific

   GHB release profiles under particular in vitro testing conditions, the '782 patent requires only that

   the release profile be "different" from the immediate release profile. Compare, e.g., '488 patent

   claim 11 ("[T]he sustained release portion releases about 10% or less of its gamma­

   hydroxybutyrate by about 1 hour when tested in a dissolution apparatus 2 in deionized water at a

   temperature of37° C and a paddle speed of50 rpm.") with '782 patent claim 14. Indeed, Dr. Little

   opined that the inventive concept of the '782 patent does not focus on modifying oxybate release

   rates but, instead, focuses on the administrability of the modified release oxybate through the use

   ofa specific dosing form. In support, Dr. Little explained that the asserted claim of the '782 patent

   separately recites a "viscosity enhancing agent" and an "acid" and that those limitations allowed


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   Jazz to overcome prior-art administrability issues with modified release oxybate dosage forms.

   See D.I. 310 at 4-5. Thus, the Court finds that the '782 patent enables the asserted claim if the

   '782 patent teaches a person of ordinary skill in the art how to "modify" the release profile of both

   resinate and non-resinate compositions that contain an active pharmaceutical ingredient (i.e.,

   GHB). See D.I. 151; '782 patent claim 14.

          The Court addresses resinate and non-resinate-based formulations in tum and finds that

   there is a genuine dispute of material fact with respect to enablement for each formulation.

          The specification raises a genuine issue of material fact with respect to whether the '782

   patent enables resinate modified release particles. See '782 patent 15:27-30 ("The sustained

   release profiles of drug can be obtained by using a mix of uncoated and semipermeable coated

   resinates and by selecting the degree of cross-linking and particle size of the resins without a

   coating process"). The specification explains that "the release of GHB can be tailored by changing

   the bead size and/or degree of crosslinking of the beads to provide additional resistance to

   diffusion" and that increased bead size, increased crosslinking, or both, would decrease the rate at

   which GHB releases. Id. at 17:50-65. The Court finds this discussion in the specification of the

   '782 patent is sufficient to show that the parties genuinely dispute whether the '782 patent

   identifies a "general quality" running through the class of substances used to modify the release of

   GHB that gives those substances "a peculiar fitness for the particular purpose [of modifying

   GHB's release]." See Amgen, 143 S. Ct. 1243 at 1254.

          The parties also genuinely dispute whether the '782 patent enables non-resinate modified

   release particles. Dr. Moreton, Jazz's expert on validity, opined that the Sustained Release

   Patents-which are prior art to the '782 patent and pre-date the '782 patent by five (5) years

   explain how to overcome the difficulties attendant to modifying the release of oxybate. See D.I.


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   310 at 3-4. Dr. Little opined that the specification of the '782 patent incorporates by reference

   U.S. Patent Publication No. 2012/0078865 ("Allphin") and that Allphin discloses non-resinate

   multi-particulate formulations of oxybate. See id. at 11. Dr. Little also explained that the '782

   patent itself (without reference to Allphin) discloses the use of non-resinate microparticles. Id.

   Discussed, infra at § 2(ix), the Court finds Dr. Little's opinions on those issues reliable. Thus, a

   reasonable juror could credit Dr. Little's opinions and find that how to 'make and use' non-resinate

   oxybate formulations was incorporated by reference into the '782 patent, well-known in the art, or

   both. See id. Accordingly, the Court finds that there is a genuine dispute of material fact regarding

   whether the '782 patent enables non-resinate oxybate formulations.

          The parties' dispute regarding the amount of testing necessary to determine whether a given

   formulation exhibits a modified release profile does not compel a different result. Jazz contends

   that the testing necessary, if any, to determine whether a formulation exhibits modified release is

   "common" formulation work. Id. at 8-10. Avadel disagrees, and contends instead that the asserted

   claim is not enabled because "trial-and-error experimentation" is necessary to determine whether

   any given formulation falls within the scope of the claim. D.I. 297 at 24-26; see Baxa/ta Inc. v.

   Genentech, Inc., 81 F.4th 1362, 1367 (Fed. Cir. 2023) ("Under Amgen, such random trial-and­

   error discovery, without more, constitutes unreasonable experimentation that falls outside the

   bounds required by§ 112(a).") (citing 143 S.Ct. at 1243).

          The Court, however, finds that Baxa/ta and Amgen are distinguishable. In those cases, the

   patent lacked any disclosures that would allow an "a skilled artisan to predict which antibodies

   [would] perform the claimed functions" and merely guided a person of skill in the art to "create a

   wide range of candidate antibodies and then screen each to see which happen to bind." Baxa/ta

   Inc. v. Genentech, Inc., 81 F.4th 1362, 1366-1367 (Fed. Cir. 2023) (citing Amgen, 143 S.Ct. at


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   1243). Conversely, the Court has found that there is a genuine issue of material fact regarding

   whether the '782 patent identifies a "general quality" that runs through the class of substances that

   the '782 patent identifies as modifiers of oxybate-release. See supra. Thus, a person of ordinary

   skill in the art may be able to predict what substances modify the release of oxybate if the '782

   patent identifies such a "general quality" common to those substances. Accordingly, the parties'

   dispute merely presents a battle of the experts that is not amenable to resolution on a motion for

   summary judgment. See Transcenic, 2014 WL 7275835 at *2. As a result, the Court denies

   Avadel' s motion for partial summary judgment no. 2 of lack of enablement.

          v.      The Court Denies Jazz's Motion to Exclude the Expert Testimony of Dr. Cory
                  Berkland and Dr. Robert Langer and Jazz's Motion to Exclude the Expert
                  Testimony of Dr. Bruce Corser.
          Avadel has confirmed that it does not plan to introduce any expert testimony that is the

    subject ofJazz's Daubert motions regarding Dr. Cory Berkland, Dr. Robert Langer and Dr. Bruce

    Corser. D.I. 537. Thus, the parties agree that Jazz's motions to exclude the testimony of those

    witnesses is moot. Id. Accordingly, the Court denies-as-moot Jazz's motions.

          vi.     The Court Grants-In-Part and Denies-In-Part Jazz's Motion to Exclude the
                  Expert Testimony of Mr. Alexander Klibanov and Mr. Carlo Giovanni
                  Traverso.
          Jazz asks the Court to exclude certain expert opinions of Mr. Klibanov and Mr. Traverso

    that relate to the testing ofLUMRYZ's release profile in buffered simulated intestinal fluid. See

    D.I. 390. For the reasons stated below, the Court grants-in-part and denies-in-part Jazz's motion.

          The claims of the Sustained Release Patents are directed to, inter alia, formulations

    containing a "sustained release portion." See, e.g., '956 patent claim 1. The parties dispute how

    to determine whether this limitation is met. See D.I. 390; D.I. 418. The Court previously

    construed "sustained release portion" to have its "[p]lain and ordinary meaning, i.e., the portion



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   '062 patent application on January 25, 2018 (Pub No. 2018/0021284 Al), Jazz filed U.S.

   Application No. 16/025,487 on July 2, 2018. Id. Subsequently, Jazz cancelled all of its original

   claims of the '369 application and replaced the original claims with different claims. Id. Avadel

   contends that Dr. Moreton impermissibly considered the later-added issued claims as support for

   his written description analysis because those claims did not exist as of the date of the invention.

   Id.; see Purdue Pharma L.P. v. Paulding Inc., 230 F.3d 1320, 1329 (Fed. Cir. 2000).

   The relevant portion of Dr. Moreton' s expert report states:

          Dr. Charman' s position appears to overlook a key aspect of the claims and the
          teachings of the Sustained Release Specification, and one that greatly supports the
          disclosure of microparticles. In particular, each of Sustained Release Asserted
          Claims requires not only the functional coating to which Dr. Charman refers (see,
          e.g., Charman at 11203-204), but also that the functional coating is in the sustained
          release portion of the formulation with a core, and deposited over that core. See,
          e.g., Ex. 5, '488 patent at Claim 1. In my opinion, the claimed core requirement,
          along with the teachings in the Sustained Release Specification, would clearly
          convey to a POSA that the inventors had arrived at the film coatings described
          therein, and that such film coatings could be applicable in a variety of formulations.

   D.I. 433 at A2252, 144. In response to Avadel's argument that Dr. Moreton relied on the

   claims for written description support, Jazz contends that Dr. Moreton merely referred to

   the claims to "define the invention" and, subsequently, looked to the specification to see if

   sufficient support was present for the defined invention. D.I. 427 at 3. Stated another way,

   Jazz contends Dr. Moreton relied on the claims to "define the invention" but found "the

   support for the invention ... in the specification as filed." Id. ( citing Purdue Pharma, 230

   F.3d at 1329).

          The Court finds that Dr. Moreton's statement that "[T]he claimed core requirement,

   along with the teachings in the Sustained Release Specification, would clearly convey to a

   POSA that the inventors had arrived at the film coatings described therein" could fairly be

   interpreted in accordance with either of the parties' positions. See D.I.433 at A2252, 144.

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   Accordingly, the Court declines to strike it at this time. The Court cautions the parties,

   however, that it will not permit Dr. Moreton to testify that the later-added claims provide

   written description support for the SR patents. See Purdue Pharma, 230 F.3d at 1329.

   Thus, the Court denies-as-premature Jazz's motion, but notes that Jazz may re-raise its

   objection at trial if Dr. Moreton testifies that the claims provide written description support.

           ix.     The Court Denies Avadel's Motion to Exclude the Expert Testimony of Dr.
                   Steven Little.
           Avadel asks the Court to exclude certain expert testimony from Dr. Steven Little regarding

    whether the '079 patent enables non-resinate oxybate formulations. D.I. 407 at 37-38. Avadel

    contends that Dr. Little offered only a single paragraph of opinion on this issue and that within

    that paragraph-Dr. Little offered but a single conclusory sentence laying out his analysis. Id.

    at 39. For the reasons stated below, the Court denies Avadel's motion.

           Jazz contends that Dr. Little provided a detailed analysis of whether the '079 patent enables

    non-resinate oxybate formulations. D.I. 430 at 1. In support, Jazz points to sections of Dr.

    Little's report wherein Dr. Little responded to Dr. Charman's written description opinions and

    concluded that the '079 patent contains adequate written description for non-resinate forms. Id.

    Avadel contends that Dr. Little's written description opinions do not support his enablement

    opinion because the written description opinions are based on a prior art disclosure. D.I. 473 at

    23-24. Thus, Avadel argues that Dr. Little cannot rely on those opinions to show that the '079

    patent enables non-resinate oxybate formulations because prior art, by definition, cannot enable

    an invention's novel aspects. D.I. 470; see Creative Kingdoms, LLC v. ITC, 588 Fed. App'x.

    993,995 (Fed. Cir. 2014). Avadel also argues that Dr. Charman's opinions on written description

    cannot render his opinions on enablement reliable because the written description requirement is




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    different from the enablement requirement. D.I. 473 at 23-24; see Ariad Pharmaceuticals, Inc.

    v. Eli Lilly and Co., 598 F.3d 1336, 1340 (Fed. Cir. 2010) (en bane).

           Conversely, Jazz contends that the formulation ofnon-resinate oxybate was known in the

    art and that the novel portion ofthe '079 patent is its teachings regarding the administrability of

    oxybate formulations through use ofa claimed sachet. D.I. 430 at 4-5. Accordingly, Jazz argues

    that Dr. Little properly considered the prior art (and thus, his written description opinions) in

    forming his opinions on enablement because prior art can enable the non-novel aspects of the

    '079 patent namely, the use ofnon-resinate oxybate. Id.

          The Court finds that Dr. Little's opinions on written enablement are sufficient to render

    reliable Dr. Little's opinions on enablement.    The enablement requirement asks whether "the

    specification teach[es] those in the art to make and use the invention without undue

    experimentation." In re Wands, 858 F.2d 731, 737 (Fed. Cir. 1988). Dr. Little, in his opinions

    on written description, provided support for his opinions that the '079 patent discloses how to

    'make and use' non-resinate oxybate formulations.         In Dr. Little's discussion of written

    description, Dr. Little concluded that the '079 specification describes both non-resinate and

    resinate formulations. See D.I. 433 at A2508. In support, Dr. Little, inter alia, explained that he

    disagrees with Dr. Charman's opinion that the specification of the '079 patent disparages non­

    resinate forms ofcontrolled release (such as enteric forms). See id. at A2509-A2510. Dr. Little

    explains that Dr. Charman's opinion on disparagement was based on the specification's

    discussion ofthe buffering effect of GHB. See id. at A25 l 3. Contrary to Dr. Charman, Dr. Little

    concluded that the buffering effect of GHB would not direct a person of ordinary skill in the art




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    away from using enteric-coated microparticles because other disclosures in the '079 patent teach

    the use of an acid to further control the release of GHB. See id.

             Dr. Little reached that conclusion by, inter alia, considering "background information on

    GHB and its method of manufacture," including the patent publication Allphin. See id. at A2510-

    A2511. Dr. Little found that Allphin was incorporated by reference into the '079 patent for its

    discussion of how to make and use film-coated formulations of GHB, including non-resinate

    compositions. See id. at A2515-A2517. Dr. Little also explained that he agrees with, and relied

    upon, Dr. Moreton's discussion of Allphin. Id. Dr. Moreton's expert report discusses Allphin

    and provides support for Dr. Moreton' s opinion that a person of ordinary skill in the art could

    make and use the non-resinate formulations of GHB described therein. See id. at A2252-A2256,

    A2260.

              Accordingly, the Court finds that Dr. Little discussed why, and how, he reached his

    conclusion that the claimed non-resinate formulations are enabled by the '079 patent. Thus, the

    Court disagrees with Avadel's position that Dr. Little's opinions were merely conclusory. As a

    result, the Court finds that Avadel's objections go to the weight of Dr. Little's testimony, not its

    admissibility, and denies Avadel's motion.

   III.      CONCLUSION

   For the foregoing reasons, this 13th day of February, IT IS HEREBY ORDERED as follows:
          1. Jazz's Motion for Partial Summary Judgment No. 1. is DENIED. See D.I. 282.

          2. Jazz's Motion for Partial Sununary Judgment No. 2. is DENIED. See D.I. 284.

          3. Jazz's Motion for Partial Sununary Judgment No. 3 is DENIED-AS-MOOT. See D.I.

             423.

          4. Jazz's Motion for Partial Sununary Judgment No. 4 is DENIED-AS-MOOT. See id.

          5. Avadel's Motion for Partial Summary Judgment No. 1. is DENIED. See D.I. 288.

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